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                                            June 10, 2023
 Hon. Gregory H. Woods                                               VIA CM/ECF
 United States District Court
 Southern District of New York
 500 Pearl Street, Room 1920
 New York, NY 10007

        Re:     U.S. Bank National Association, et al. v. The Charitable Donor Advised
                Fund, L.P. and CLO HoldCo, Ltd., Case No. 1:21-cv-11059-GHW.

Dear Judge Woods,

        This letter is submitted on behalf of Defendants/Counter-Plaintiffs Charitable DAF Fund,
LP a/k/a The Charitable Donor Advised Fund, L.P. (“DAF”) and CLO HoldCo, Ltd. (“CLOH”)
(collectively, the “DAF Parties”) in response to the letter filed by Highland CLO Funding, Ltd.
(“HCLOF”) on June 6, 2023 [Doc. 126] (“Letter”).

          HCLOF’s Letter is effectively a preconference letter seeking judicial relief. Accordingly,
the Letter fails to comply with this Court’s Individual Rules of Practice in Civil Cases Rule 2.E.ii.,
as it is not a “jointly composed letter.” But, in any event, its premise is misguided. HCLOF’s Letter
represents an improper attempt to delay the DAF Parties from obtaining needed discovery to which
they are entitled.

        First, HCLOF argues that it received no prior notice of the DAF Parties’ Application for
Issuance of Letter of Request [Doc. 118] (“Application”). No such notice is required under the
procedures at issue. Nor would HCLOF be entitled to such notice if it was a domestic target of
third-party discovery. In any event, HCLOF has actual notice of the Application, and it will have
an opportunity to challenge the proposed discovery in Guernsey, under Guernsey’s rules of
practice.

        Second, HCLOF argues that “[t]he [DAF] Parties should not be permitted to circumvent
[the] process [of responding to the DAF Parties’ counterclaim].” Seeking foreign discovery on
issues germane to the pending disputes between Plaintiffs US Bank, Acis, and Joshua Terry, as
well as to HCLOF, has no impact on HCLOF’s planned motion to dismiss, and discovery from
HCLOF is needed irrespective of that motion.

      Third, the DAF Parties understand that a hearing on the Letters of Request must be held in
Guernsey after the Letters and an application are separately served on HCLOF in that jurisdiction.
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HCLOF’s efforts to avoid issuance of the Letters of Request in the United States will merely delay
the consideration of HCLOF’s arguments in the proper forum (i.e., a Guernsey court). HCLOF
should not be permitted to interfere with the DAF Parties’ ability to obtain substantive discovery
through an appropriate method — independent of whether HCLOF moves to dismiss based on
jurisdictional grounds in this lawsuit.

        The DAF Parties respectfully request that the Court reject HCLOF’s Letter request and
issue the Letters of Request.

                                             Respectfully Submitted,
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